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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

WILLIE RAY,                                     )
                                                )
               Plaintiff,                       )
                                                )
vs.                                                  Case No.
                                                )
                                                )
CENTENE MANAGEMENT COMPANY,                     )
                                                )
               Defendant.
                                                )

                                   NOTICE OF REMOVAL

         COMES NOW Defendant Centene Management Company (hereafter “Defendant”), by

and through its attorneys, and gives notice that the case of Willie Ray v. Centene Management

Company, initiated in the Circuit Court for St. Louis County on or about August 28, 2017, and

assigned case number 17SL-CC03304 has on this 6th day of October, 2017 been removed to the

United States District Court for the Eastern District Missouri, Eastern Division. Pursuant to 28

U.S.C. § 1441 and 1446, and under 28 U.S.C. § 1332(a) there is diversity of citizenship of the

parties, and the amount in controversy, exclusive of interest and costs, exceeds $75,000. As

grounds for removal, Defendant states:

         1.    On August 28, 2017, Willie Ray (“Plaintiff”) filed a Petition in the Circuit Court

of St. Louis County in an action titled Willie Ray v. Centene Management Company, case

number 17SL-CC03304.

         2.    No summons was issued by Plaintiff when the suit was filed. On September 8,

2017, Defendant waived formal service.
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       3.      A copy of the pleadings, processes, and orders filed in this action are attached as

Exhibit A. No further proceedings have been had in this action or served on Defendant.

       4.      This notice of removal is filed within 30 days of Defendant accepting service

(service waived on September 8, 2017), and is timely filed under 28 U.S.C. § 1446(b)(3).

       5.      In Plaintiff’s Petition, Plaintiff purports to allege, inter alia, violations of Title VII

of the Civil Rights Act of 1964, 42 U.S.C. Section 1981 and the Family Medical Leave Act. See

Ex. A, Pet. ¶¶ 4, 6(g)–(f).

       6.      Federal courts have original jurisdiction over claims or rights "arising under the

Constitution, treaties, or laws of the United States." 28 U.S.C. § 1441(b). As such, this Court has

original jurisdiction over this action in that Plaintiff alleges violations of rights arising under

federal law.

       7.      Plaintiff also purports to allege violations of Missouri State law, pursuant to

Missouri Revised Statues 213.055 and 213.070.

       8.       In any civil action of which the Federal District Courts have original jurisdiction,

“the district courts shall have supplemental jurisdiction over all other claims that are so related to

claims in the action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). The

Federal District Court may exercise jurisdiction over state-law claims that may be viewed as part

of the same case if they "derive from a common nucleus of operative fact" as the federal claim.

Mine Workers v. Gibbs, 383 U.S. 715 (1966).

       9.      Plaintiff’s allegations arising under Missouri law derive from a “common nucleus

of operative fact” as the gravamen of Plaintiffs’ claims arises from Plaintiff’s claims purportedly

raised under federal law.




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        10.     Accordingly, this Court has original federal question jurisdiction over this case

pursuant to 28 U.S.C. § 1331, supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) and this

case is properly removed to this Court pursuant to 28 U.S.C. § 1446(b)(3).

        11.     As of the date of the commencement of this cause and the removal of this cause,

Defendant was, and still is, a corporation organized under the law of the State of Wisconsin with

its principal place of business in Clayton, Missouri, and is thereby a citizen of the States of

Wisconsin and Missouri pursuant to 28 U.S.C. § 1332(c). (Ex. B, Linhardt Affidavit).

        12.     Upon information and belief, Plaintiff is a citizen and resident of the State of

Illinois. Id.

        13.     Plaintiff’s Petition does not state the specific amount of damages being sought;

however, the matter in controversy exceeds the sum or value of $75,000 exclusive of interest and

costs. In her Petition, Plaintiff seeks damages for job loss, lost wages and income, emotional

distress, back pay and front pay, exemplary damages, other consequential damages, attorney fees

and costs. (Ex. A, Plaintiff’s Petition, ¶ 10).

        14.     If the amount in controversy is not ascertainable from the face of the pleadings,

when deciding the amount in controversy, “a defendant seeking to invoke federal jurisdiction

through removal must prove by a preponderance of the evidence that the amount in controversy

exceeds $75,000.” “Compensatory damages, punitive damages, statutory costs, and attorney's

fees may be aggregated to meet the jurisdictional threshold.” (citing Crawford v. F. Hoffman–La

Roche Ltd., 267 F.3d 760, 765–67 (8th Cir.2001)). Brooks v. Kelly, No. 4:11CV01510 AGF,

2011 WL 6009657 (E.D. Mo. Dec. 1, 2011). “Under the preponderance standard, the

jurisdictional fact is not whether the damages are greater than the requisite amount, but whether a




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fact finder might legally conclude that they are.” Bell v. The Hershey Co., 557 F.3d 953, 959 (8th

Cir.2009) (internal quotations omitted).

       15.     Plaintiff was terminated at the end of 2015 and earned approximately $48,326.12

that year, in addition to approximately $7,400.70 in benefits. (Ex. B). Given that the Plaintiff

seeks damages for job loss, lost wages and income, emotional distress, back pay and front pay,

exemplary damages, other consequential damages, attorney fees and costs, a fact finder could

legally conclude the damages are greater than the requisite amount.

       16.     As such, with a preponderance of the evidence and to a legal certainty, Plaintiff is

seeking in excess of $75,000 and, therefore, the jurisdictional amount is satisfied.

       17.     Written notice of the filing of this Notice of Removal will be given to Plaintiff’s

counsel, as required by law.

       18.     A true and correct copy of this notice of removal will be filed with the Clerk for

the Circuit Court of St. Louis County, as required by law.

       WHEREFORE, Defendant gives notice that the above action initiated in the Circuit Court

of St. Louis County, is hereby removed to the United States District Court for the Eastern

District of Missouri, Eastern Division for the reasons stated above.




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                                                         Attorneys for Defendant



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2017, the foregoing was filed electronically with the

Clerk of the Court and will be served by U.S. Mail and by operation of the Court’s electronic

filing system upon the following:

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Attorney for Plaintiff

                                                    /s/ Ida S. Shafaie




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